
222 So.2d 366 (1969)
Clyde L. LaBRYER
v.
STATE.
3 Div. 414.
Supreme Court of Alabama.
May 8, 1969.
MacDonald Gallion, Atty. Gen., and David W. Clark, Asst. Atty. Gen., for petitioner.
Geo. C. Brassell, Montgomery, opposed.
LIVINGSTON, Chief Justice.
Petition of the State by its Attorney General for certiorari to the Court of Appeals to review and revise the judgment and decision in LaBryer v. State, 45 Ala. App. 33, 222 So.2d 361 (3 Div. 355).
Writ denied.
LAWSON, MERRILL and HARWOOD, JJ., concur.
